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                                         UNITED STATES DISTRICT COURT

                                        NORTHERN DISTRICT OF CALIFORNIA


           DAVID A. STEBBINS,                             Case No.21-cv-04184-JSW
                           Plaintiff,
                                                          CLERK’S NOTICE RESETTING
                      v.                                  MOTION HEARING
           KARL POLANO, et al.,                           Re: Dkt. Nos. 159, 162
                           Defendants.



                 YOU ARE HEREBY NOTIFIED that the hearing on the Motion for Leave to File
        Motion for Reconsideration and to Recuse previously set for August 19, 2022 at 10:00 AM is
        reset to August 19, 2022 at 9:00 AM. The hearing on the Motion for Relief of Judgment
        previously set for September 2, 2022 is reset to September 2, 2022 at 9:00 AM.


        Dated: July 25, 2022
                                                       Mark B. Busby
                                                       Clerk, United States District Court



                                                       By: ________________________
                                                       Diyana Staples, Deputy Clerk to the
                                                       Honorable JEFFREY S. WHITE
                                                       510-637-3541




Clerk’s-Notice_CRD
rev. June 2018
